Case 23-12825-MBK         Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44   Desc Main
                                    Document     Page 1 of 12



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  and Certain Mesothelioma Plaintiffs

                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                                            Chapter 11
     In re:
                                                            Case No. 23-12825
     LTL MANAGEMENT LLC,
                                                            Honorable Michael B. Kaplan
                             Debtor.


     MRHFM’S STATEMENT AGAINST LTL MANAGEMENT’S SECOND
 BANKRUPTCY PETITION AND JOINDER TO INFORMATIONAL BRIEF OF THE
         AD HOC COMMITTEE OF CERTAIN TALC CLAIMANTS

       This Court has once before credited assertions made by Johnson & Johnson (“J&J”)

and its catspaw, LTL Management (“LTL”). In doing so, the Court made factual findings

the Third Circuit found amounted to clear error and legal conclusions that amounted to
Case 23-12825-MBK         Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                Desc Main
                                    Document     Page 2 of 12



an abuse of this Court’s discretion. In re LTL Mgmt., LLC, --- F.4th ----, Case No. 22-2003,

Dkt. 181-2 (“Op.”) (3d Cir. 2023) (“LTL I”, attached as Exhibit 1).1

        The result of this Court’s “clearly erroneous” findings (Op. at 51) meant that for

the past 18 months Johnson & Johnson—which has independent non-derivative talc

liability, apart from LTL—dodged all accountability for poisoning people with asbestos

and enjoyed a windfall of hundreds of millions of dollars, all because of a bad faith

bankruptcy filing. That money that should have gone to victims in the tort system as they

suffered and died. Victims like MRHFM clients Jan Deborah-Michelson Boyle, Robert

Amron, and Carolyn Pryor.

        MRHFM opposes this latest bankruptcy abuse and joins the arguments advanced

in the Ad Hoc Committee’s Informational Brief (Dkt. 79). Tellingly, none of the

Appellants before the Third Circuit in LTL I (the TCC, Arnold & Itkin, Aylstock, or the

Ad Hoc of Mesothelioma Claimants that includes MRHFM client Katherine Tollefson) or

the Department of Justice have indicated any support for the alleged “settlement”

reached between LTL and some of its claimants.




1“Because it abused its discretion in denying the motions to dismiss, we reverse the Bankruptcy Court’s
order denying the motions and remand this case with the instruction to dismiss LTL’s Chapter 11 petition.
Dismissing its case annuls the litigation stay order by the Court and makes moot the need to decide that
issue.” Op. at 58.


                                                   2
Case 23-12825-MBK            Doc 97      Filed 04/10/23 Entered 04/10/23 17:11:44                     Desc Main
                                        Document     Page 3 of 12



        1. Binding Precedent: the Third Circuit’s Categorical Rejection of LTL I.

        Bankruptcy petitions are to be dismissed “unless filed in good faith.” Op. at 35

(citing In re 15375 Mem’l Corp. v. BEPCO, L.P., 589 F.3d 605, 618 (3d Cir. 2009) (citing In re

Integrated Telecom Express, Inc., 384 F.3d 108, 118 (3d Cir. 2004)). A financially un-

distressed company cannot file a Chapter 11 petition in good faith. Op. at 38 (citing In re

Integrated., 384 F.3d at 122 and SGL Carbon Corp., 200 F.3d 154, 166 (3d Cir. 1999)). The

good faith requirement is a jurisdictional one, protecting the powerful equitable weapons

of bankruptcy from misuse by a debtor who lacks “clean hands.” SGL Carbon, 200 F.3d at

161 (quoting In re Little Creek Dev. Co., 779 F.2d 1068, 1072 (5th Cir. 1986)). That financial

distress “is vital to good faith is reinforced by the central role it plays in other courts’

inquiries.” Op. at 42.2

        Financial distress as a predicate to bankruptcy jurisdiction is a longstanding

proposition universally recognized in all federal courts 3 and the Third Circuit was

indisputably correct in its holding, and its holding is indisputably binding on this Court.




2 See Op. at Fn. 14, for a long citation to other circuit opinions.
3 See Local Loan Co. v. Hunt, 292 U.S. 234, 244 (1934) (“One of the primary purposes of the Bankruptcy Act
is to relieve the honest debtor from the weight of oppressive indebtedness, and permit him to start afresh free
from the obligations and responsibilities consequent upon business misfortunes.”)(emphasis); Wetmore v.
Markoe, 196 U.S. 68, 77 (1904) (“Systems of bankruptcy are designed to relieve the honest debtor from the
weight of indebtedness which has become oppressive…”); In re Capitol Food Corp. of Fields Corner, 490 F.3d
21, 25 (1st Cir. 2007) (pointing out that a debtor need not be insolvent before filing a bankruptcy petition,
but that it must be experiencing “some sort of financial distress”); In re Cohoes Indus. Terminal, Inc., 931 F.2d
222, 228 (2d Cir. 1991) (debtor must “at least…face such financial difficulty that, if it did not file at that time,
it could anticipate the need to file in the future”); In re SGL Carbon Corp., 200 F.3d 154, 164–66 (3d Cir. 1999)




                                                         3
Case 23-12825-MBK            Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                      Desc Main
                                       Document     Page 4 of 12



        After the Third Circuit ruled on January 30th, Johnson & Johnson (and its amici)

asked for rehearing and asserted that Supreme Court review was necessary. CTA3 No.

22-2003, Dkt. 153, Feb. 13, 2023. LTL claimed “perverse incentives” resulted from the

Third Circuit’s holding that would leave subsidiaries to “crash into bankruptcy,

ultimately harming claimants” (id. at 13), and an alleged “split” from Supreme Court




(reversing the district court and dismissing the debtor’s bankruptcy because, inter alia, “[t]he mere
possibility of a future need to file, without more, does not establish that a petition was filed in ‘good faith,”
and “Chapter 11 was designed to give those teetering on the verge of a fatal financial plummet an
opportunity to reorganize on solid ground and try again, not to give profitable enterprises an opportunity
to evade contractual or other liabilities”); In re Premier Auto. Servs., Inc., 492 F.3d 274, 280–81 (4th Cir. 2007)
(dismissal upheld because debtor was not “experiencing financial difficulties;” the debtor’s filings “reveal
a solvent business entity,” a fact that “alone may justify dismissal of [the debtor’s] Chapter 11 petition”); In
re Little Creek Dev. Co., 779 F.2d 1068, 1072–73 (5th Cir. 1986) (“The ‘new debtor’ syndrome, in which a one-
asset entity has been created … to isolate the insolvent property and its creditors, exemplifies … bad faith
cases…Neither the bankruptcy courts nor the creditors should be subjected to the costs and delays of a
bankruptcy proceeding under such conditions.”); In re Cook, 104 F.2d 981, 985 (7th Cir. 1939) (no valid
bankruptcy purpose where “proceeding was instituted not for the purpose of obtaining benefits afforded
by the Act to a corporation in financial distress, but to enable appellees to escape the jurisdiction of another
court where the day of reckoning … was at hand”; “A Federal Court should not extend its jurisdiction
under such circumstances.”); In re Cedar Shore Resort, Inc., 235 F.3d 375, 380 (8th Cir. 2000) (affirming
dismissal because, inter alia, the bankruptcy court found the primary motivation of the debtor—a healthy
company “not in dire financial straits”—was to dispose of a state court lawsuit); In re Marsch, 36 F.3d 825,
829 (9th Cir. 1994) (no good faith where debtor “had the financial means to pay” its obligations, which
posed no “danger of disrupting business interests”); In re Stewart, 175 F.3d 796, 811 (10th Cir. 1999)
(affirming dismissal and recognizing that relieving “oppressive indebtedness” is “[o]ne of the main
purposes of bankruptcy law”); In re Waldron, 785 F.2d 936, 940 (11th Cir. 1986) (rejecting a debtor’s
bankruptcy because “[t]he bankruptcy laws are intended as a shield, not as a sword,” and recognizing that
the purpose of Chapter 11 is to give a fresh start to a “financially troubled debtor” rather than the
“financially secure”). See also Grogan v. Garner, 498 U.S. 279, 286–87 (1991) (“This Court has certainly
acknowledged that a central purpose of the Code is to provide a procedure by which certain insolvent
debtors can reorder their affairs … But in the same breath that we have invoked this ‘fresh start’ policy, we
have been careful to explain that the Act limits the opportunity for a completely unencumbered new
beginning to the ‘honest but unfortunate debtor.’”) (emphasis added).


                                                        4
Case 23-12825-MBK           Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                    Desc Main
                                      Document     Page 5 of 12



precedent (id. at 12–15). The Third Circuit judges unanimously denied LTL’s petition for

rehearing.4

        Then LTL urged the Circuit to stay the mandate because the Supreme Court was

“likely to be persuaded that [the Circuit’s dismissal] standard is a bridge too far.” CTA3

No. 22-2003, Dkt. 173, 19. The “important” issues implicated required Supreme Court

intervention and it was “reasonable to expect” it would grant certiorari to “bring circuits

into alignment.” Id. at 22.

        But much like the Company’s flip-flop on the tort system between May 2020 and

October 2021, the urgent need for the Supreme Court’s opinion on LTL’s first bad faith

bankruptcy evaporated as J&J apparently realized it wasn’t going to enjoy what the

Supreme Court was likely to say. Then came rumors of second bankruptcy (TCC

Statement, Dkt. 3934) and reports of a “settlement.”5




4 The group of unanimous Third Circuit judges weighing and rejecting LTL’s rehearing request included

several involved in prior 524(g) bankruptcy rulings. See In re Imerys Talc America, Inc., 38 F.4th 361 (3rd Cir.
2022) (Hon. Krause, Hon. Bibas); In re W.R. Grace & Co., 13 F.4th 279 (3rd Cir. 2021) (Hon. Fuentes, Hon.
Krause); In re Energy Future Holdings Corp., 949 F.3d 806 (3rd Cir. 2020) (Hon. Krause, Hon. Matey); In re
W.R. Grace & Co., 900 F.3d 126 (3rd Cir. 2018) (Hon. Ambro, Hon. Restrepo); In re W.R. Grace & Co., 729 F.3d
311 (3rd Cir. 2013) (Hon. Jordan, Hon. Ambro); In re Federal-Mogul Global Inc., 684 F.3d 355 (3rd Cir. 2012)
(Hon. Jordan); In re Global Indus. Technologies, Inc., 645 F.3d 201 (3rd Cir. 2011) (Hon. Jordan, Hon. Fuentes,
Hon. Ambro); and In re Combustion Engineering, Inc., 391 F.3d 190 (3rd Cir. 2004) (Hon. Ambro, Hon.
Fuentes).
5    See    https://news.bloomberglaw.com/bankruptcy-law/j-j-begins-audacious-return-to-failed-cancer-
settlement-tactic.


                                                       5
Case 23-12825-MBK       Doc 97    Filed 04/10/23 Entered 04/10/23 17:11:44         Desc Main
                                 Document     Page 6 of 12



       2. Any “Settlement”—According to the Third Circuit Itself—Lies Beyond this
          Court’s Authority to Enforce.

       The existence of a plan or “plan support agreements,” as referenced in LTL’s most

recent bad faith bankruptcy petition (Dkts. 1, 10) is irrelevant. The number of claimants

allegedly willing to waive their due process rights against non-distressed non-debtor J&J

and its affiliates does not bestow subject matter jurisdiction on this Court.

       “What counts to access the Bankruptcy Code’s safe harbor is to meet its intended

purposes. Only a putative debtor in distress can do so.” Op. at 18-19. Chapter 11 can

“redefine fundamental rights of third parties”—like those held by Katherine Tollefson

and thousands of other cancer victims—and “only those facing financial distress can call

on bankruptcy’s tools to do so.” Op. at 57. Ultimately, financial distress is a jurisdictional

“safeguard,” one which ensures that plaintiffs’ right to prove their case to “a jury of their

peers” is “disrupted only when necessary.” Op. at 58.

       Bankruptcy is not a menu choice for $460 billion tortfeasors who prefer to avoid

the civil justice system enshrined in the United States Constitution. Only (1) financially

distressed debtors (2) overwhelmed by current and future asbestos liabilities who (3)

subject their assets to the jurisdiction of the bankruptcy court can hope to satisfy the

specific requirements of 524(g) to establish a trust and receive a channeling injunction.

       Johnson & Johnson meets none of the above requirements. See In re Combustion

Eng’g, 391 F.3d 190, 237-38 (3d Cir. 2004) (future plaintiffs “might prefer having recourse

against solvent entities rather than being limited to proceed against” a trust); In re Fed.-


                                              6
Case 23-12825-MBK      Doc 97    Filed 04/10/23 Entered 04/10/23 17:11:44       Desc Main
                                Document     Page 7 of 12



Mogul Glob. Inc., 684 F.3d 355, 365 (3d Cir. 2012)(noting Congress passed 524(g) to protect

the Due Process rights of future victims and recognizing that enjoining claims against of

non-debtor affiliates in Combustion exceeded the bankruptcy court’s jurisdiction).

       As in LTL’s first bankruptcy, this Court does not have (and cannot obtain) subject

matter jurisdiction to enjoin actions against non-debtor Johnson & Johnson and hundreds

of other non-debtor tortfeasors. Not temporarily, not preliminarily, and not permanently.

Johnson & Johnson’s newly filed bad faith bankruptcy will fail. The numerous legal,

factual, and equitable bases for this inevitable conclusion will only become more

apparent the more sunlight shines on J&J’s clandestine activities between January 30th

and April 5th.

       Johnson & Johnson and its affiliates claim to have reached some sort of

prepackaged settlement with a large portion of the bar. Let them prove it, as is their

burden. Integrated Telecom Express, 384 F.3d at 118. Let them defend against the

straightforward application of LTL I, as they cannot. Until those dispositive matters are

resolved, this Court should not credit a massive company that was dismissed from

bankruptcy for bad faith and then sought to scurry back mere hours after that dismissal.

       3. Johnson & Johnson has Liability Independent of LTL: A Nationwide
          Injunction against Johnson & Johnson’s Victims Ignores Binding Precedent
          and Wreaks Havoc on Both the Principles of Federalism and Victims’ Due
          Process Rights.

       Johnson & Johnson is not a debtor, has not filed for Chapter 11, and has

independent non-derivative liability—apart from the Debtor—for all the Company’s


                                            7
Case 23-12825-MBK            Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                      Desc Main
                                       Document     Page 8 of 12



asbestos-contaminated talc products (including Johnson's Baby Powder and Shower-to-

Shower) for all time.

        Claims against Johnson & Johnson in the tort system for all time periods are

independent and non-derivative of claims against “Old” Johnson & Johnson Consumer,

Inc. and the Debtor here, and cannot be enjoined (preliminarily or permanently). The 1979

“indemnification agreement” whereby “Old” JJCI’s predecessor allegedly assumed all

J&J’s liabilities was contested on appeal of LTL I, and is contested now. The Third Circuit

did not reach this issue because it didn’t have to.

        To construe the agreement to require indemnification is contrary to New Jersey

law. 6 A promise to indemnify against one’s own negligence requires very specific

language not found in the 1979 agreement. See Cozzi v. Owens-Corning Fiber Glass

Corp., 164 A.2d 69 (N.J. Super. 1960); Mantilla v. NC Mall Assoc., 770 A.2d 1144 (N.J. 2001).

Johnson & Johnson was found by juries to have engaged in willful, wanton, or reckless

conduct warranting punitive damages. Such conduct cannot be indemnified —as J&J is no




6“Indemnity contracts are interpreted in accordance with the rules governing the construction of contracts
generally.” Ramos v. Browning Ferris Indus., 510 A.2d 1152, 1159 (N.J. 1986) (citing Cozzi v. Owens Corning
Fiber Glass Corp., 164 A.2d 69 (N.J. App. Div. 1960)). “When the meaning of the clause is ambiguous,
however, the clause should be strictly construed against the indemnitee.” Mantilla v. NC Mall Assocs., 167
N.J. 262, 272 (N.J. 2001) (citing Ramos, 510 A.2d at 1159); see Carbone v. Cortlandt Realty Corp., 58 N.J. 366, 368
(N.J. 1971); George M. Brewster & Son, Inc. v. Catalytic Const. Co., 17 N.J. 20, 33 (N.J. 1954); Rommell v. United
States Steel Corp., 66 N.J. Super. 30, 43, 168 A.2d 437 (N.J. App.Div.), cert. denied, 34 N.J. 580, 170 A.2d 544
(N.J. 1961); Longi v. Raymond-Commerce Corp., 113 A.2d 69 (N.J. App. Div. 1955); see also Fletcher’s
Cyclopedia of the Law of Corporations § 7114 (Sept. 2021 update) (an “agreement must be clear and
unambiguous in order for it to amount to an assumption”).


                                                        8
Case 23-12825-MBK           Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                    Desc Main
                                      Document     Page 9 of 12



doubt aware, having litigated this previously. See Johnson & Johnson v. Aetna, 667 A.2d

1087 (NJ Super. 1995). See also Tryanowski v. Lodi Bd. Of Educ., 643 A.2d 1057 (N.J. Super.

1994).

          Further, the 1979 “agreement” covers only liabilities “on the books or records of

Johnson & Johnson” in 1979—not future liabilities. That is the only interpretation that

gives this agreement's language meaning. See Wash. Const. Co. v. Spinella, 8 N.J. 212, 217–

18 (N.J. 1951). And even if it were ambiguous, ambiguity is construed against

indemnification by LTL. 7 Thus, LTL has no legal obligation to indemnify J&J. LTL’s

counterintuitive,       economically        destructive       insistence      on    taking      upon      itself

indemnification obligations it does not have is further evidence of bad faith and

constitutes an ongoing breach of the Debtor’s fiduciary duty to maximize the value of the

Estate.

          Section 524(g) “provides a special form of supplemental injunctive relief for an

insolvent debtor facing the unique problems and complexities associated with asbestos




7 As referenced in briefing filed by TCC2 in LTL I, J&J knows how to draft broader indemnification

provisions when it wished. When J&J sold Windsor Minerals to Cyprus Mines in 1989, J&J agreed to
indemnify Cyprus against “any product liability-based claim, suit, demand or cause of action directed
against Cyprus, Windsor or Western or any of their affiliates arising out of the sale of tale or talc-containing
products manufactured by Windsor, Western, J&J or the affiliates of Windsor, Western or J&J, prior to
Closing.” See TCC2 Opp. Prelim. Inj., Pg. 12, Fn.10 “Exhibit I to the Agreement contained an itemized list
of pending product liability lawsuits specifically covered by the indemnity provision. When J&J sold the
Shower to Shower business to Valeant Pharmaceuticals International, Inc., it included an assumption
provision listing specific assumed liabilities for legal proceedings arising from the “manufacture,
advertising, marketing, distribution, sale or use” of products. (Exhibit B to the Kupfer Decl., LTL 0000972–
973.).” Id.


                                                       9
Case 23-12825-MBK          Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                  Desc Main
                                    Document      Page 10 of 12



liability.” In re W.R. Grace & Co., 729 F.3d 311, 319–20 (3rd Cir. 2013) (emphasis added)

(citing Combustion Eng’g, Inc., 391 F.3d at 234; In re Fed–Mog. Global, Inc., 684 F.3d 355, 362

(3rd Cir.2012)). This section “provides no specific authority to extend a channeling

injunction to include third-party actions against non-debtors where the liability alleged

is not derivative of the debtor,” and “the general powers of § 105(a) cannot be used to

achieve a result not contemplated by the more specific provisions of § 524(g).” Combustion

Eng’g, Inc., 391 F.3d at 236-37.8

        While section 105(a) may aid a bankruptcy court in exercising its jurisdiction, it

does not furnish a separate or independent source of subject matter jurisdiction. See W.R.

Grace 591 F.3d at 170 (quoting Combustion Engineering 391 F.3d at 225); see also In re Johns-

Manville Corp., 801 F.2d 60, 63 (2d Cir. 1986) (“Section 105(a) does not, however, broaden

the bankruptcy court’s jurisdiction, which must be established separately”).9

        In Combustion Eng’g, the Third Circuit rejected permanent injunctions—issued

under 11 U.S.C. §§ 105 and 524(g)—that purported to shield non-debtors with much

cleaner hands than Johnson & Johnson’s. See 391 F.3d at 201. And the state court actions

LTL seeks to enjoin by its adversary proceeding—lawsuits by mesothelioma and ovarian




8 The Circuit reasoned that even if “some asbestos claimants here may benefit from an augmented fund,
equity does not permit non-debtor affiliated entities to secure the benefits of Chapter 11 in contravention
of the plain language of § 524(g).” Id. at 237.
9 Thus, “before considering the merits of any § 105(a) injunction, a bankruptcy court must establish that it

has subject matter jurisdiction to enter the injunction.” In re W.R. Grace, 591 F.3d at 170. Simply put, in
seeking an injunction under § 105(a), a party cannot rely upon § 105(a) itself as the source of jurisdiction.


                                                     10
Case 23-12825-MBK          Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44                 Desc Main
                                    Document      Page 11 of 12



cancer plaintiffs against J&J—are not core proceedings over which this bankruptcy court

has jurisdiction. See W.R. Grace & Co., 591 F.3d 164, 174 (3rd Cir. 2009).10

        Johnson & Johnson has chosen to play games with America’s justice system: to

seek protection from bankruptcy court without subjecting itself to bankruptcy (or even

being in financial distress). See LTL I, 2023 WL 2760479. Despite the obvious

gamesmanship and bad faith, and the equally obvious perils of relying on J&J/LTL’s

factual and legal assertions, this Court has already entered an ex parte order blocking

Johnson & Johnson’s victims—including victims who are lucky to be alive after having

their lawsuits enjoined during J&J’s first bad faith bankruptcy—from pursuing justice.

                                              Conclusion

        The ultimate question for this Court is whether this latest bankruptcy should be

countenanced at all. Under binding precedent, it should not. The short-term question is

deciding who should bear the burden between now and when LTL II ends in dismissal?

Should the burden be on Johnson & Johnson, who will give away more money in

dividends this month than it paid to settle nearly 7,000 talc cases in the jury system, who

has independent liability for all J&J talc products for all time, and who will never obtain




10The question isn’t whether the adversary proceeding is a core proceeding, but whether the claims sought
to be enjoined are core proceedings. Simply put, “[t]he existence of a bankruptcy proceeding itself,” is not
“an all-purpose grant of jurisdiction.” Id.


                                                    11
Case 23-12825-MBK       Doc 97     Filed 04/10/23 Entered 04/10/23 17:11:44   Desc Main
                                 Document      Page 12 of 12



a permanent channeling injunction under 524(g)? Or, will the burden, again, be thrown

onto the sick people?

Sincerely:
MAUNE RAICHLE HARTLEY
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_________________________
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                                            12
